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                    IN THE UNITED STATES DISTRICT COURT
                                                                                  FILED
                        FOR THE DISTRICT OF MONTANA                                   NOV 0 8 2016
                              BILLINGS DIVISION                                   Clerk, u s District Court
                                                                                    District Of Montana
                                                                                           Billings

 UNITED STATES OF AMERICA,                          CR 16-58-BLG-SPW-02

                         Plaintiff,
                                                 ORDER SETTING
           vs.                                   SENTENCING

 KRIST A LYNN MARTINEZ,

                         Defendant.

      Defendant entered her plea of guilty before U.S. Magistrate Judge Carolyn

S. Ostby in open court on October 24, 2016. United States Magistrate Judge

Carolyn Ostby entered Findings and Recommendation in this matter on October

24, 2016 (Doc. 46). No objections having been filed within fourteen days thereof,

      IT IS HEREBY ORDERED the Judge Ostby' s Findings and

Recommendations (Doc. 46) are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      1.         Sentencing is set for Thursday, February 9, 2017 at 9:30 a.m., in the

James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.

      2.         The United States Probation Office shall conduct a presentence

investigation and prepare a presentence report. Fed. R. Crim. P. 32(c), (d); 18

U.S.C. § 3552(a).
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        3.   The probation officer shall disclose the completed report, except for

recommendations of the probation officer, to Defendant, counsel for Defendant,

and counsel for the government on or before December 21, 2016. The probation

officer shall not disclose any recommendation made or to be made to the Court.

        4.   If restitution is mandatory, the probation officer shall discuss a

payment plan with Defendant and shall make recommendations to the Court

concerning interest and a payment schedule.

        5.   Counsel shall attempt in good faith to resolve disputes over any

material in the presentence report. Unresolved objections to be relied upon at

sentencing shall be presented to the probation officer on or before January 4,

2017. U.S.S.G. § 6Al .2. Any unresolved objections are expected to be

included in the pre-sentence report, not in a sentencing memorandum.

        6.   The presentence report, in final form, including any unresolved

objections, shall be delivered to the Court and the parties on or before January 18,

2017.

        7.   Sentencing memoranda and supporting documents addressing all

relevant sentencing issues shall be filed on or before January 25, 2017. Absent

good cause shown, sentencing memoranda and supporting documents filed after

January 25, 2017 will not be considered in addressing sentencing issues. Failure to




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timely file sentencing memoranda may result in imposition of sanctions against

counsel.

      8.      Responses to sentencing memoranda shall be filed on or before

February 1, 2017.

      9.      Reply briefs will not be accepted for filing in sentencing matters.

      10.     The Court will resolve objections included in the Addendum to the

presentence report at the sentencing hearing in accordance with U.S.S.G. § 6Al.3.

      11.     All parties that intend to have witnesses testify at sentencing shall give

notice to this Court ten (10) days prior to the sentencing date.

      12.     Defendant is to remain in the custody of U.S. Marshals pending

sentencing.

      The clerk shall promptly notify counsel and the probation office of the entry

of this Order.

      DATED this      ?~
                       day ofNovember, '}f16.

                                         ~~-J~
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                                         United States District Judge




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